8:16-cr-00062-RFR-SMB       Doc # 209   Filed: 11/22/17   Page 1 of 1 - Page ID # 531




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                   Plaintiff,             )                8:16CR62
                                          )
      vs.                                 )
                                          )
FRANCISCO GOMEZ, MANUEL ORTIZ,            )                 ORDER
and MARIA ROBLES-ROJAS,                   )
                                          )
                   Defendants.


        Defendant Maria Robles-Rojas appeared before the court on November 21, 2017
for an initial appearance and arraignment hearing. At that time, Magistrate Judge
Nelson entered an Order for the Progression of a Criminal Case [205]. For that reason,
the trial in this matter, previously scheduled for December 4, 2017 is cancelled. The
matter shall be reprogressed and trial will be set by further order of the court.

      IT IS SO ORDERED.

      DATED this 22nd day of November, 2017.

                                 BY THE COURT:


                                 s/ Susan M. Bazis
                                 United States Magistrate Judge
